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    ~o 245B (CASD) (Rev. 12111) Judgment in a Criminal Case                                                                           FILED
               Sheet 1

                                                                                                                                      IVIHI    tJULUIL

                                             UNITED STATES DISTRICT COURT                                                    CLERK, U.S. OISTR~CT COURT
                                                                                                                          SOUTHERN DISTR~F CALIFORNIA
                                                  SOUTHERN DISTRICT OF CALIFORNIA                                          BY                 _.     __       OEPUTY

                    UNITED STATES OF AMERICA                                        AMENDED JUDGMENT IN A CRIMINAL CASE
                                       v.                                           (For Offenses Committed On or After November 1, 1987)

                 STEPHEN JONATHAN LAWLER (17)                                       Case Number: lOCR2242 JM
                                                                                    Maxine Dobro
                                                                                    Defendant's Attomey
   REGISTRATION NO. 21094298
   181 Modification of Supervision Conditions (18 U.S.c. § 3563 (c) or 3583 (e))
   THE DEFENDANT:
    181pleaded guilty to count(s) FORTY-FIVE OF THE INDICTMENT.

    o     was found guilty on count(s),_ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ __
          after a plea of not gUilty.
          Accordingly, the defendant is adjudged guilty of such count(s), which involve the following offense(s):
                                                                                                                                            Count
    Title & Section                         Nature of Offense                                                                              Number(sl
18 USC 1343                            WIRE FRAUD                                                                                                   45




       The defendant is sentenced as provided in pages 2 through                5         of this judgment. The sentence is imposed pursuant
to the Sentencing Reform Act of 1984.
o   The defendant has been found not guilty on count(s)
                                                           ----------------------------------------------
o   Count(s)_ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ is                  0 areD dismissed on the motion of the United States.
181 Assessment: $100.00, waived.

181 Fine waived                                    181 Forfeiture pursuant to order filed                 12115/2011            , included herein.
                                                                                                 ----------
      IT IS ORDERED that the defendant shall notiry the United States Attorney for this district within 30 days of any change of name, residence,
or mailing address until all fines, restitution, costs, and special assessments imposed by this judgment are fully paid. If ordered to pay restitution, the
defendant shall notify the court and United States Attorney of any material change in the defendant's economic circumstances.

                                                                              May 21, 2012




                                                                                                                                                   10CR2242JM
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AO 245B (CASO) (Rev. 12/11) Judgment in a Criminal Case
           Sheet 2 Probation
                                                                                                             Judgment~Page       2     of   _ _5_ __
DEFENDANT: STEPHEN JONATHAN LAWLER (17)                                                               a
CASE NUMBER: IOCR2242 JM
                                                                  PROBATION
The defendant is hereby sentenced to probation for a term of:
THREE (3) YEARS.

The defendant shall not commit another federal, state, or local crime.
For offenses committed on or after September 13, 1994:
The defendant shall not illegally possess a controlled substance. The defendant shall refrain from any unlawful use ofa controlled
substance. The defendant shall submit to one drug test within 15 days of placement on probation and at least two periodic drug tests
thereafter as determined by the court. Testing requirements will not exceed submission of more than 4 drug tests per month during
the term of supervision, unless otherwise ordered by court.                                          -­

o      The above drug testing condition is suspended, based on the court's determ ination that the defendant poses a low risk of
       future substance abuse. (Check, if applicable.)
       The defendant shall not possess a firearm, ammunition, destructive device, or any other dangerous weapon.
       The defendant shall cooperate in the collection ofa DNA sample from the defendant, pursuant to section 3 of the DNA Analysis
       Backlog Elimination Act of 2000, pursuant to 18 USC sections 3563(a)(7) and 3583(d).
       The defendant shall comply with tlie requirements ofthe Sex Offender Registration and Notification Act (42 U.S.C. § 16901, et seq.) as directed
       by the probation officer, the Bureau of Prisons, or any state sex offender registration agency in which he or she resides, works, is a student, or
       was convicted of a qualifYing offense. (Check if applicable,)
o      The defendant shall participate in an approved program for domestic violence. (Check, if applicable.)
          If this judgment imposes a fine or restitution obligation, it is a condition of probation that the defendant pay any such fine or
restitution in accordance with the Schedule of Payments sheet of this judgment.
        The defendant shall comply with the standard conditions that have been adopted by this court (set forth below). The defendant shall
also comply with the special conditions imposed.

                                       STANDARD CONDITIONS OF SUPERVISION
  I)    the defendant shall not leave the judicial district without the permission of the court or probation officer;
  2)    the defendant shall report to the probation officer in a manner and frequency directed by the court or probation officer;
  3)    the defendant shall answer truthfully all inquiries by the probation officer and follow the instructions of the probation officer;
  4)    the defendant shall support his or her dependents and meet other family responsibilities;
  5)    the defendant shall work regularly at a lawful occupation, unless excused by the probation officer for schooling, training, or other
        acceptable reasons;
  6)    the defendant shall notify the probation officer at least ten days prior to any change in residence or employment;
  7)    the defendant shall refrain from excessive use ofalcohol and shall not purchase, possess, use, distribute, or administer any controlled
        substance or any paraphernalia related to any controlled substances, except as prescribed by a physician;
  8)    the defendant shall not frequent places where controlled substances are illegally sold, used, distributed, or administered;
  9)    the defendant shall not associate with any persons engaged in criminal activity and shall not associate with any person convicted of
        a felony, unless granted permission to do so by the probation officer;
 10)    the defendant shall permit a probation officer to visit him or her at any time at home or elsewhere and shall permit confiscation of
        any contraband observed in plain view of the probation officer;
 II)    the defendant shall notify the probation officer within seventy-two hours of being arrested or questioned by a law enforcement
        officer;
 12)    the defendant shaH not enter into any agreement to act as an informer or a special agent of a law enforcement agency without the
        permission of the court; and
 13)    as directed by the probation officer, the defendant shall notify third parties of risks that may be occasioned by the defendant's
        criminal record or personal history or characteristics and shall permit the probation officer to make such notifications and to confirm
        the defendant's compliance with such notification requirement.



                                                                                                                                         IOCR2242JM
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       AD 245B (CASD) (Rev. 12/11 Judgment in a Criminal Case
                  Sheet 3 - Special Conditions
                                                                                                         Judgment-Page   ........J.- of _ _5_ ____
       DEFENDANT: STEPHEN JONATHAN LAWLER (17)
       CASE NUMBER: lOCR2242 JM                                                                     •

                                                SPECIAL CONDITIONS OF SUPERVISION
181 Submit person, residence, office or vehicle to a search, conducted by a United States Probation Officer at a reasonable time and in a
    reasonable manner, based upon reasonable suspicion of contraband or evidence of a violation of a condition of release; failure to submit to a
    search may be grounds for revocation; the defendant shall warn any other residents that the premises may be subject to searches pursuant to
    this condition.
o   If deported, excluded, or allowed to voluntarily return to country of origin, not reenter the United States illegally and report to the probation
    officer within 24 hours of any reentry to the United States; supervision waived upon deportation, exclusion or voluntary departure.
o Not transport, harbor, or assist undocumented aliens.
o Not associate with undocumented aliens or alien smugglers.
o   Not reenter the United States illegally.
o Not enter the Republic of Mexico without written permission of the Court or probation officer.
181 Report all vehicles owned or operated, or in which you have an interest, to the probation officer.
D Not possess any narcotic drug or controlled substance without a lawful medical prescription.
D Not associate with known users of, smugglers of, or dealers in narcotics, controlled substances, or dangerous drugs in any form.
181 Not accept or commence employment involving fiduciary responsibility without prior approval of the probation officer, and employment
    shall be subject to continuous review and assessment by the probation officer.




D Take no medication containing a controlled substance without valid medical prescription, and provide proof of prescription to the
181 Provide complete disclosure of personal and business financial records to the probation officer as requested.
181 Be prohibited from opening checking accounts or incurring new credit charges or opening additional lines of credit without approval of the
    probation officer.                      I

D Seek and maintain full time employment and/or schooling or a combination of both.
D Resolve all outstanding warrants within           days.
181 Complete 100 hours of community service in a program approved by the probation officer within 3 years.
181 Reside in a Residential Reentry Center (RRC) as directed by the probation officer for a period of 3 months.
181 Notify the Collections Unit of the U~S. Attorney's Office, and the U.S. Probation Office, of any interest in property obtained, directly or
    indirectly, including any interest obthined under any other name, or entity, including a trust, partnership or
                                            I


181 Notify the Collections Unit of the U.S. Attorney's Office and the U.S. Probation Office before the transfer of any interest in property owned
    directly or indirectly by the defendant.




                                                                                                                                        lOCR2242 JM
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   AD 245B     (Rev. 2010) Judgment in a Criminal Case
               Sheet 3 - Continued 2     Supervised Release
                                                                                    Judgment-Page     4    of __5_ _
   DEFENDANT:          STEPHEN JONATHAN LAWLER (17)                             •
   CASE NUMBER: lOCR2242 JM

                                      SPECIAL CONDITIONS OF SUPERVISION

    Be monitored for a period of 3        months, with the location monitoring technology at the discretion of the
    probation officer. The offender shall abide by all technology requirements and shall pay all or part of the costs of
    participation in the location monitoring program, as directed by the court and/or the probation officer. In addition to
    other court-imposed conditions of release, the offender's movement in the community shall be restricted as specified
    below:


    o        You are restricted to your residence every day from _ _ _ _ _ _ to _ _ _ _ _ _. (Curfew)


    o        You are restricted to your residence every day from _ _ _ _ _ _ to _ _ _ _ _ _ as directed by the
             probation officer. (Curfew)

             You are restricted to your residence at all times except for employment; education; religious services;
             medical, substance abuse, or mental health treatment; attorney visits; court appearances; court-ordered
             obligations; or other activities as pre-approved by the probation officer. (Home Detention)

     o       You are restricted to your residence at all times except for medication necessities and court appearances or
             other activities specifically approved by the court. (Home Incarceration)


D probation
  Be monitored while under supervision with location monitoring technology at the discretion of the
            officer, which shall be utilized for the purposes ofverifying compliance with any court-imposed
      condition of supervision. The offender shall pay all or part of the costs of location monitoring based upon
      their ability to pay as directed by the court and/or probation officer.
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AO 245S     Judgment in Criminal Case
            Sheet 5 - Criminal Monetary Penalties

                                                                                                    Judgment - Page             of
DEFENDANT: STEPHEN JONATHAN LAWLER (17)
CASE NUMBER: lOCR2242 JM
                                                                                             a
                                                          RESTITUTION

The defendant shall pay restitution in the amount of ___$_40_9,.:...,_6_72_._31_ _ _ unto the United States of America.




          This sum shall be paid __ immediately.
                                        X
                                    as follows:
           Through the Clerk, U.S. District Court, forthwith or at a monthly payment of $250.00. Distribution of restitution to the
           victims is to be on a pro rata basis.

           To HSBC Bank USA N.A. as
           Trustee for Registered Holders ofNomura Home Equity
           Loan, Inc., Asset-Backed certificates, Series 2007-3
           in the amount of $ 341, 484.74
           to be paid joint and several with Defendant Sean Robert Livingston Peck (18).

           To Wells Fargo Home EquitylDivision of Wells Fargo Bank, MA
           c/o Jan Morrie VP, Financial Crimes Consultant
           1050 Lakes Drive #400
           West Covina, CA 91790
           in the amount of$ 68,187.57




                                                                                                                                      a
      The Court has detennined that the defendant       does not    have the ability to pay interest. It is ordered that:

   X         The interest requirement is waived.

             The interest is modified as follows:




                                                                                                   lOCR2242JM
